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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,

                                  Plaintiff,
                                                                   C.A. No. 19-1021-RGA
                  v.
                                                                JURY TRIAL DEMANDED
DURACELL INC.,

                                  Defendant.



          DURACELL MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

          Defendant Duracell U.S. Operations, Inc. (“Duracell”)1 respectfully moves this Court to

dismiss Plaintiff Symbology Innovations LLC’s Complaint, pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure, for failure to state a claim upon which relief can be granted.

          The grounds for this motion are further set forth in Duracell’s Opening Brief in Support

of its Motion to Dismiss for Failure to State a Claim, which is being filed contemporaneously

herewith.




1
    Duracell Inc. is a non-existent legal entity.


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Dated: June 25, 2019                  FISH & RICHARDSON P.C.

                                      By: /s/ Jeremy D. Anderson
                                          Jeremy D. Anderson (#4515)
                                          222 Delaware Ave., 17th Floor
                                          Wilmington, DE 19801
                                          (302) 652-5070 (Telephone)
                                          (302) 652-0607 (Facsimile)
                                          janderson@fr.com

                                          Neil J. McNabnay
                                          Ricardo J. Bonilla
                                          Theresa M. Dawson
                                          Rodeen Talebi
                                          1717 Main Street, Suite 5000
                                          Dallas, TX 75201
                                          (214) 747-5070 (Telephone)
                                          (214) 747-2091 (Facsimile)
                                          mcnabnay@fr.com
                                          rbonilla@fr.com
                                          tdawson@fr.com
                                          talebi@fr.com

                                      ATTORNEYS FOR DEFENDANT
                                      DURACELL U.S. OPERATIONS, INC.




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